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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

     ANTHONY LAJUAN FLEMING,
                                                 Case No. 16-cv-10085
              Petitioner,
                                                 Case No. 08-cr-20275
                  v.
                                        UNITED STATES DISTRICT COURT JUDGE
                                                GERSHWIN A. DRAIN
     UNITED STATES OF AMERICA,

            Respondent.
    __________________________/

    ORDER GRANTING MOTION REQUESTING STATUS UPDATE [#63]

        Before the Court is Petitioner’s Motion Requesting Status Update, filed on

September 17, 2018. Dkt. No. 63. Petitioner’s Motion requests this Court provide

him with a status update regarding his motion to vacate judgment pursuant to Rule

59(e), filed on August 15, 2017. Dkt. No. 60. This Court issued an Opinion and

Order on December 12, 2017 denying Petitioner’s motion to vacate. Dkt. No. 62.

However, Plaintiff has not been served with the Opinion and Order or the

corresponding Judgment on his motion to vacate.


        Accordingly, this Court will GRANT Plaintiff’s Motion. This Court will

serve Plaintiff with copies of its December 7, 2017 Opinion and Order and the

corresponding Judgment.




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SO ORDERED.



Dated:      September 24, 2018

                                              s/Gershwin A. Drain
                                              Hon. Gershwin A. Drain
                                              United States District Court Judge


                         CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to the attorneys
of record on this date, September 24, 2018, by electronic and/or ordinary mail.


                                      s/Julie Owens
                                      Case Manager




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